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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )            CASE NO. CR06-220-JLR
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   EUGENIO RICARDO SORACCO,             )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:

15          Conspiracy to Distribute Methamphetamine, Distribution of Methamphetamine

16 Date of Detention Hearing:     July 5, 2006

17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

18 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

19 that no condition or combination of conditions which defendant can meet will reasonably assure

20 the appearance of defendant as required and the safety of other persons and the community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          (1)    The offenses charged carry a maximum penalty in excess of ten years. There is

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01 therefore a rebuttable presumption against defendant as to both dangerousness and flight risk,

02 under 18 U.S.C. § 3142(e). The AUSA advises that over 21 pounds of methamphetamine have

03 been recovered pursuant to this investigation.

04          (2)     The defendant has dual U.S. and Columbia citizenship, with family in Columbia and

05 Italy. The defendant resided in Columbia until seven or eight years ago. The defendant’s mother

06 is not willing to have her son reside with her. His sister is traveling in Italy and it is not known if

07 he could reside with the sister. His employment has been sporadic. His past criminal history

08 includes failures to appear for court hearings, and several weapons charges, one of which was

09 dismissed and with an unknown disposition of the other charge.

10          (3)     The record does not effectively rebut the presumption as to dangerousness and

11 flight risk.

12 It is therefore ORDERED:

13          (1)     Defendant shall be detained pending trial and committed to the custody of the

14                  Attorney General for confinement in a correction facility separate, to the extent

15                  practicable, from persons awaiting or serving sentences or being held in custody

16                  pending appeal;

17          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

18                  counsel;

19          (3)     On order of a court of the United States or on request of an attorney for the

20                  Government, the person in charge of the corrections facility in which defendant is

21                  confined shall deliver the defendant to a United States Marshal for the purpose of

22                  an appearance in connection with a court proceeding; and

     DETENTION ORDER                                                                              15.13
     18 U.S.C. § 3142(i)                                                                       Rev. 1/91
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01         (4)    The clerk shall direct copies of this Order to counsel for the United States, to

02                counsel for the defendant, to the United States Marshal, and to the United States

03                Pretrial Services Officer.

04         DATED this 5th day of July, 2006.



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06                                              Mary Alice Theiler
                                                United States Magistrate Judge
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     DETENTION ORDER                                                                        15.13
     18 U.S.C. § 3142(i)                                                                 Rev. 1/91
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